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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA ex rel. CASE NO. 17-cv-01757 LJO SAB

[UNDER SEAL]
FIRST AMENDED COMPLAINT FOR
Plaintiffs, VIOLATIONS OF THE FEDERAL FALSE
CLAIMS ACT AND CALIFORNIA FALSE
Vv. CLAIMS ACT
[UNDER SEAL] |
Defendants. DEMAND FOR JURY TRIAL

 

 

[FILED IN CAMERA AND UNDER SEAL
PURSUANT TO 31 U.S.C. § 3730(b)(2)]

 

FIRST AMENDED COMPLAINT

 
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Plaintiffs the United States of America (“United States”) and the State of California, by and
through Relator Thomas Turner (“Relator”), allege as follows.

1 INTRODUCTION .
1, Relator brings this action on behalf of the United States and the State of California to

recover losses sustained by the Medicare and Medi-Cal programs, as a result of Defendants’
differential billing practices, as well as kickbacks paid by Dynamic Medical Systems LLC
(“Dynamic”) and Joerns Healthcare LLC. (“Joemns”) to various Skilled Nursing Facilities (“SNFs”),
including the other Defendants in this action.

2. This is a classic “swapping” scheme in which Dynamic and Joerns’ kickbacks took the
form of deep discounts to certain patient populations on the daily rental rates for certain specialty
beds and mattresses. Dynamic used these discounts to induce SNF to refer to them higher paying
business. These discounts padded the profits of various SNFs, including Covenant Care California,
LLC, Plum Healthcare Group LLC, and Cambridge Healthcare Services. |

3. At the same time, Dynamic and Joerns overcharged other patients who were

responsible for a Share of Cost (SOC) of their SNF care. These overcharges were ultimately borne

by the patients, as well as the Medicare and Medi-Cal programs.

4, Defendants’ practices violated the Anti-Kickback statute (42 U.S.C. § 1320a-7b) and
Medi-Cal’s low price rules, and resulted in violations of both the Federal False Claims Act and the
California False Claims Act.

Tl. JURISDICTION AND VENUE ©

5. This Court has jurisdiction over the False Claims Act (“FCA”) causes of action raised
in this complaint under 28 U.S.C. § 1331, as they arise under Federal law. This Court also has
jurisdiction over the FCA claims pursuant to 31 U.S.C. § 3732, which confers jurisdiction for claims
brought under the FCA on the District Courts of the United States. |

6. Additionally, this Court has supplemental jurisdiction over the other claims in this
action pursuant to 31 U.S. Code § 3732(b), as they arise from the same transaction or occurrence as

the federal claims. The Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367, as

 

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they are so related to the FCA claims in the action that they form part of the same case or
controversy.

7. Venue is proper pursuant to 31 U.S.C. § 3732(a), as Defendants transact business in
this district.

Ili. PARTIES

8. Plaintiff in this action the United States of America and the State of California, by and
through Relator Tom Turner. |

9, Relator Tom Turner is a resident of Huntington Beach, California. He was hired by
Dynamic Medical Systems LLC in February 2006, after Dynamic acquired Relator’s company.
Relator currently serves as Dynamics’ Director of Key Accounts, and Director of Key Accounts for
Joerns Healthcare LLC.

10. Dynamic Medical Systems LLC (“Dynamic”) is a Nevada limited liability corporation
headquartered in Rancho Dominguez, California. Dynamic is in the business of leasing specialty
mattresses and bed frames to SNFs. Among other things, these mattresses prevent and treat wounds
and ulcers, reduce soft tissue distortion, and promote blood flow. Dynamic’s specialty mattress
products include: Airdyne, Dynamax, MA 65, and MA 85. Dynamic became a subsidiary of

Invacare in 2011.

11. Joerns Healthcare LLC (“Joerns”) is a Delaware corporation headquartered in Stevens
Point, Wisconsin. Like Dynamic, Joerns is in the business of leasing mattresses to SNFs. Joerns
specialty mattress products include: DermaFloat, ProMatt, Dynamax. Joerns acquired Dynamic
from Invacare in or around July 2015.

12. Invacare Corporation is an Ohio Corporation based in Elyria, Ohio. Invacare acquired
Dynamic in 201 1, and later sold the company, along with the rest of itsmedical device rentals
businesses for long-term care facilities to Joerns in or around July 2015.

13. Covenant Care California, LLC (“Covenant”), is a California limited liability
corporation headquartered in Aliso Viejo, California. Covenant manages about 30 SNFs in

California and entered into discriminatory billing agreements with Joerns.

 

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14. Mariner Health Care Management Company (“Mariner”) is a Delaware corporation.

| Mariner operates 19 SNFs in Northern and Southern California and entered into discriminatory

billing agreements with Joerns.

15. Plum Healthcare Group LLC (“Plum”) is a California limited liability company based
in San Marcos, California which manages 64 SNFs. Plum entered into discriminatory billing
agreements with Dynamic.

16. Cambridge Healthcare Services is a California limited liability company based in Los
Angeles, California. Cambridge manages 37 SNFs and entered into discriminatory billing
agreements with Dynamic.

IV. OVERVIEW OF THE SCHEME

A. Medi-Cal, Medicaid, and the Federal Anti-Kickback Law

17. Medicaid is a joint Federal-State program which provides, among other things, long-
term care for seniors. Medicaid provides a means for nursing facility residents to pay for skilled-
nursing care, as well as room and board in a nursing facility certified by the federal government to
provide services to Medicaid beneficiaries.

18. Medi-Cal is California's Medicaid program. This is a public health insurance program
which provides needed healthcare services for low-income individuals including families with
children, seniors, persons with disabilities, foster care, pregnant women, and low income people with
specific diseases such as tuberculosis, breast cancer or HIV/AIDS. Medi-Cal is financed equally by
the State of California and the federal government. .

19. Medicare also provides reimbursements to SNFs depending on several factors,
including the character of the facility, the beneficiary’s circumstances, and the types of items and
services provided. SNFs are typically reimbursed under Medicare Part A for the costs of most items
and services, including room, board, ancillary items, and services. In-some circumstances, SNFs may
receive payments under Medicare Part B.

20. +The Federal Anti-Kickback Law, codified at 42 U.S.C. § 1320a-7b, has been on the
books since 1972. Its main purpose is to protect patients and federal healthcare programs, including

Medicaid and Medicare, from fraud and abuse by curtailing the corrupting influence of money on

 

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healthcare decisions. The law establishes civil and criminal penalties for persons who knowingly and
willfully receive or pay anything of value to influence the referral of federal health care program
business, including Medicare and Medicaid.

2i. | Tocomply with the Anti-Kickback Law, SNFs must ensure that all discounts they
receive are properly disclosed and accurately reflected on their cost reports. SNFs must also be
careful that there is no link or connection between discounts offered or solicited for business that the
nursing facility pays for and the nursing facility’s referral of business billable by the supplier or
provider directly under any federal health care program. For example, nursing facilities may not
engage in swapping arrangements by accepting a low price from a supplier or provider on an item or
service covered by the SNF’s per diem payment in exchange for the SNF referring to the supplier
other federal health care program business. Such swapping arrangements implicate the anti-kickback
statute and are not protected by the discount safe harbor.

B. SNF Reimbursement |

22. A Skilled Nursing Facility (“SNF”) is a health-care institution that meets federal
criteria for Medicaid and Medicare reimbursement for nursing care including especially the
supervision of the care of every patient by a physician, the employment full-time of at least one
registered nurse, the maintenance of records concerning the care and condition of every patient, the
availability of nursing care 24 hours a day, the presence of facilities for storing and dispensing drugs,

the implementation of a utilization review plan, and overall financial planning including an annual

operating budget and a 3-year capital expenditures program.

23. Medicare pays SNFs under a prospective payment system (“PPS”) for beneficiaries
covered by the Part A extended care benefit. Covered beneficiaries are those who require skilled-
nursing or rehabilitation services and received the services from a Medicare certified SNF after a
qualifying hospital stay of at least three days. The PPS rate is a fixed, per diem rate. The maximum
benefit is 100 days per “spell of illness.”

24. Medi-Cal reimburses SNFs for the costs associated with caring for eligible patients.
For some of these eligible patients, Medi-Cal reimburses SNFs for the full cost of the patients’ care at

a capitated rate.

 

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25. Other Medi-Cal recipients must pay, or agree to pay, a monthly dollar amount toward
their medical expenses before they qualify for Medi-Cal benefits. This dollar amount is called Share
of Cost (“SOC”). A Medi-Cal subscriber’s SOC is similar to a private insurance plan’s out-of-pocket
deductible, |

26. Generally, a beneficiary’s SOC is determined by the county welfare department and is
based on the amount of income a subscriber receives in excess of “maintenance need” levels. Medi-
Cal rules require that subscribers pay income in excess of their “maintenance need” level toward their
own medical bills before Medi-Cal begins to pay. Both earned income and unearned income —
including from sources such as Social Security retirement, survivors or disability benefits, pensions,
and interest from bank accounts, and State Disability Insurance — can count towards income for the
purposes of calculating SOC.

27. Under Johnson v. Rank, No. C-84-5979-SC, 1984 WL 48801 (N.D. Cal. Dec. 7,
1984), Medi-Cal recipients can elect to use their SOC funds to pay for necessary, non-covered,
medical or remedial-care services, supplies, equipment and drugs that are prescribed by a physician
and part of the “plan of care” authorized by the recipient’s attending physician.

28. | Amedical service is considered a non-covered benefit if either: (1) the medical
services is rendered by a non-Medi-Cal provider, or (2) the medical service falls into the category of
services for which a Treatment Authorization Request (“TAR”) must be submitted and approved.

29. ‘In the event a Medi-Cal recipient spends part of his or her SOC on “non-covered”
medical or remedial services, the SNF must subtract those amounts from the recipient’s SOC and bill
the recipient in an amount equal to the remaining SOC. The SNF then bills Medi-Cal in an amount
equal to the difference between the typical Medi-Cal funding per patient and this particular patient’s
remaining SOC. |

30. For example, a patient who pays $600 per month on non-covered medical expenses
and has a $1000 SOC will only need to pay $400 out of her SOC for covered services before
qualifying for Medi-Cal benefits. The facility would then deduct $400 from the amount billed to
Medi-Cal. Medi-Cal thus pays $400 less per month than it pays for a typical Medi-Cal patient
without an SOC. |

 

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Cc. Defendants’ Fraudulent Scheme

- 31. Defendants engaged in a swapping arrangement to defraud Medicare and Medi-Cal.
Under the scheme, Dynamic and Joerns offered deep discounts on specialty mattress rental rates to
certain patient segments in order to induce SNFs to use their products. At the same time, Dynamic
and Joerns overcharged patients who were responsible for an SOC. The overcharges were borne by
the patients and government payers, as opposed to the SNFs.

32. Inreturn for the discounts offered by Dynamic and Joerns, SNFs would refer 90 to
100 percent of their patients to Dynamic and Joerns. -

33. Dynamic and Joerns charge three different mattress rental rates. First, the stated and
published rate billed directly to Medi-Cal is $18.76 per day. Dynamic and Joerns only bill Medi-Cal
directly for a small portion of patients with qualifying wounds that require specialty mattresses and
equipment. Second, patients with private insurance, Medicare, and patients with Medi-Cal and no
SOC are charged a discounted price of between $3 and $6 per day. These patients are known in the
industry as the“facility” segment. These fees are not billed directly to Medi-Cal. Third, patients in
the SOC segment are charged a “retail” price of up to $23 per day.

34. | Because SNFs are paid a capitated rate for Medi-Cal patients in the facility segment,
the SNFs can pocket the savings from the discounted prices offered by Dynamic and Joerns.

35. On the other hand, patients and the government bear the cost of the overcharges to
SOC patients.

36. Consider, for example, a patient, who lives in a SNF that is reimbursed $5,000 per
month by Medi-Cal. If that patient is in the facility segment, and is not responsible for any SOC,
Dynamic and Joerns may charge $3 per day. Medi-Cal pays a capitated rate of $5,000 per month for
the patient’s care. The SNF pays $90 ($3 per day times 30 days) of the $5,000 for the specialty
mattress rental, and has $4,910 left over for the remainder of the patient’s care. Ultimately, the
government pays the SNF $5,000 per month for this patient’s care.

37. If the patient has an SOC of $1,000 and is charged the same amount as the facility
segment for the specialty mattress, the patient pays $90 out of her SOC for the specialty mattress and,

assuming there are no other uncovered costs, the remainder of the SOC ($910) goes to the SNF for

 

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the rest of her covered care. Medi-Cal is then responsible for the remaining $4,090 of the SNF’s
$5,000 monthly charges.

38. But under Defendants’ scheme, SOC patients are charged an inflated rate of up to $23
per day. Thus, the same patient would pay about $690 of her monthly SOC for the specialty mattress,
and have only $310 left over to satisfy her SOC obligation. Medi-Cal is responsible for the
remaining $4,690 of the SNF’s $5,000 monthly charges.

39. Inthe example above, Medi-Cal thus pays an additional $600 per patient per
month due to Defendants’ differential billing. Moreover, each SOC patient must pay an additional
$600 out of their SOC for a specialty mattress, meaning they have $600 less to spend on other
uncovered, but necessary medical costs.

40. The following chart summarizes this example:

Te

    

Medi-Cal | $0 $3
Patient with
no SOC
(Facility-
pay)
Medi-Cal $1000 $3 . $90 $910 Approximately
covered $4090

Patient with
$1000 SOC
(Legal way
to bill)
Medi-Cal | $1000 $23 $690 | $310 Approximately
covered $4690

Patient with
$1000 SOC
(Dynamic
billing
scheme)

 

 

 

 

 

 

 

 

 

 

41. | Every month, SNFs participating in the scheme provide Dynamic and Joerns with a
list of their patients, and the payors that are responsible for those patients. This information is

conveyed in-a form known as the “Share of Cost Acknowledgement letter.” Using this list, Dynamic

 

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and Joerns differentiate between patients who are responsible for a SOC and those that are not, and
charge those patient populations different prices. .

42. | Dynamic has carried out this scheme since at least 2006, when it acquired Relator’s
company. Dynamic continued the scheme after it was acquired by Invacare in 2011, as well as after
Joerns acquired Dynamic from Invacare. Joerns perpetrated an identical scheme before it acquired
Dynamic.

43. Defendants and their agents have been aware for years of the aforementioned false
billing practice and knowingly permitted such wrongful practices to continue. .

D. Defendants’ Discriminatory Billing Practices Violate Federal and California Law

44. Defendants’ actions violate the Anti-Kickback statute, which forbids persons from
receiving any remuneration, including any kickback, bribe, or rebate in return for referring an
individual to a person for the furnishing of any item or service, or in return for leasing any good for
which payment may be made in whole or in part under a federal health care program. 42 U.S.C. §
1320a-7b(), | -

45. Defendants’ actions also violate Medi-Cal’s low price rules, which prohibit
discriminatory billing. Specifically, 22 California Code of Regulations (“CCR”) § 51480(a) states
“No provider shall bill or submit a claim for reimbursement for the rendering of health care services
to a Medi-Cal beneficiary in any amount greater or higher than the usual fee charged by the provider
to the general public for the same service.” Likewise, 22 CCR § 51501 states that, under the Medi-
Cal program, “no provider shall charge for any service or any article more than would have been
charged for the same service or article to other purchasers of comparable services or articles under

comparable circumstances.”

E. Defendants’ Scheme Violated Medi-Cal’s Low Price Rules.

46. Dynamic, Joerns, and Invacare billed Medi-Cal directly for patients with qualifying
wounds that require specialty mattresses and equipment. The rates for these patients was $18.76 per
day, far higher than the rates charged to other patients in the facility segment. Dynamic, Joerns, and
Invacare’s billing practices violated the Medi-Cal low price rules set forth in 22 CCR §§ 51480 and
51501.

 

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KF. Defendants’ Kickbacks Induced the Referral of Medicare Business

47. | Many SNF patients receive financial assistance from Medicare. Dynamic and Joerns
induced the referral of this Medicare business, in violation of the Anti-Kickback Law, by offering
steep discounts to certain SNF patients.

G. Further Evidence of the Scheme

48.  Joerns, Dynamic, and Invacare entered into provider agreements with several SNFs
through which they agreed to provide mattresses at discounted daily rates, even though they bill
Medi-Cal a daily rate for such products of $18.76.

a. For example, Dynamic’s August 1, 2015 Provider Agreement with Queen Ann’s Lace
Holdings, LLC dba Whitney Oaks Care Center, which is owned by Plum, sets forth a daily rental rate
for AirDyne Mattressses of $2.50 to $6.00.

b. Dynamic’s October 1, 2016 Preferred Provider Agreement with LAC Verdugo
Operations LLC dba Glendale Post Acute Center sets forth daily rental rates of $6.00 to $8.50 for
various alternating Pressure Mattresses. |

c. Dynamic’s Preferred Provider Agreement with Breeze Health Care, Inc. dba
Beachside Nursing Center, dated June 1, 2016, sets forth a daily rental rate of $6.00 for Airdyne
pump with a standard size Dynamax Mattress.

d. Dynamic’s August 1, 2012 requirements contract with Jeffrey Pine Holdings, LLC dba
Villa Las Palmas Healthcare Center, which is owned by Plum, sets forth a daily rental rate for
AirDyne Mattresses of $5 to $6. |

e. Dynamics’s November 30, 2011 provider agreement with Redlands Healthcare Center
sets forth a daily rental rate for AirDyne Mattresses of $5.25 to $8.00.

49. | Dynamic emails demonstrate the entire purpose of the scheme was to induce SNFs to
refer more business. For example, on March 16, 2017, Robert Husband, an account executive at
Joerns, sent an email to Laura Bailey, the Director of Sales at Joerns, stating he wanted to convert one
of his accounts, Fairfield Post Acute, from Dynamic to Joerns. Husband explained: “If we switch
equipment to DMS [Dynamic] we can easily double our current revenue with this account by getting -

rid of the competition and pushing the share of cost program.” Bailey responded “I see no issue,

 

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we have a contract through DMS, we stand to gain business plus SOC and DMS has product they can
provide.”

30. ~—Recently, several of Dynamic and Joes’ SNF customers have become more risk
averse and expressed concerns about the differential billing practices described above. |
51. For example, Dynamic received complaints about differential billing in August and
September 2017 from Dycora Transitional Health, which operates 19 SNFs in California.
Specifically, Vicki Keyser, Dycora’s Director of Business Office Operations, expressed concerns that
SOC patients were being charged higher fees for mattresses than other types of patients. Keyser
demanded that “all of July’s SOC invoices adjusted to the facility rates.”

52. Likewise, Cambridge Healthcare Services LLC also contacted Dynamic and Joems in
2017 requesting that their SOC rates be set so that they were equal to their facility rates. Cambridge
operates Nursing Home facilities in Northern and Southern California.

53. Plum Healthcare Group, which operates 64 SNFs in the State of California, also
expressed concerns about Dynamic’s discriminatory billing. |

54. In September 2017, New Vista Health Services, which operates SNFs in Sunland,
California, requested that Dynamic “fix the differential billing issues for SOC patients.” Dynamic
had been renting mattresses to New Vista’s non-SOC patients for $2.50 to $4.50 per day, well below
the rate effectively billed to Medi-Cal. |

Vv. CAUSES OF ACTION
FIRST CAUSE OF ACTION

Violations of the Federal False Claims Act
Presenting False Claims
(31 U.S.C. § 3729(a)(D(A))
On Behalf of the United States
| Against All Defendants |
55. Relator incorporates herein by reference and realleges the allegations Stated in this

Complaint.

 

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56. Defendants knowingly caused to be presented false claims for payment or approval to
an officer or employee of the United States. .

537. Defendants knowingly (as defined in 31 U.S.C. § 3729(b)(1)) presented false records
and statements, including but not limited to claims, bills, invoices, requests for reimbursement, and
records of services, in order to obtain payment or approval of charges by the Medicare and Medicaid
program that were higher than they were permitted to claim or charge by applicable law. Among
other things, Defendants knowingly submitted false claims for Medicare and Medicaid business that
was obtained by means of, and as a result of illegal kickbacks.

58. Defendants knowingly made, used, and caused to be made and used false certifications
that their claims, and all documents and data upon which those claims were based, were accurate, and
were supplied in full compliance with all applicable statutes and regulations.

59. The conduct of Defendants violated 31 U.S.C. § 3729{a)(1)(A) and was a substantial

factor in causing the United States to sustain damages in an amount according to proof.

SECOND CAUSE OF ACTION
Violations of the Federal False Claims Act

Making or Using False Records or Statements
Material to Payment or Approval of False Claims
(31 U.S.C. § 3729(a)(1)(B))
On Behalf of the United States
Against All Defendants

60. Relator incorporates herein by reference and realleges the allegations stated in this
Complaint. |

61. Defendants knowingly (as defined in 31 U.S.C. § 3729(b)(1)) made, used, or caused to
be made or used false records or statements material to false or fraudulent claims.

62. Defendants knowingly made, used, and/or caused to be made and used false records
and statements, including but not limited to claims, bills, invoices, requests for reimbursement, and
records of services, in order to obtain payment or approval of charges by the Medicare program that

were higher than they were permitted to claim or charge by applicable law. Among other things,

 

FIRST AMENDED COMPLAINT | 11

 
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Defendants knowingly submitted false claims for Medicare and Medicaid business that was obtained
by means of, and as a result of illegal kickbacks.

63. | Defendants knowingly made, used, and caused to be made and used false certifications
that their claims, and all documents and data upon which those claims were based, were accurate, and
were supplied in full compliance with all applicable statutes and regulations.

64. The conduct of Defendants violated 31 USC. § 3729(a)(1)(B) and was a substantial

factor in causing the United States to sustain damages in an amount according to proof.

THIRD CAUSE OF ACTION
Violations of the Federal False Claims Act
Retention Of Proceeds To Which Not Entitled
(31 U.S.C. 3729(A)(1)(G))

On Behalf Of The United States
Against All Defendants

65. Relator incorporates herein by reference and realleges the allegations stated in this
Complaint.

66. Defendants knowingly made, used, or caused to be made or used a false record or
statement material to an obligation to pay or transmit money property to the United States, or
knowingly concealed or knowingly improperly avoided or decreased an obligation to pay or transmit
money or property to the United States. |

67. Defendants received far more money from the Medicaid and Medicare programs than
they were entitled. Defendants knew that they had received more money than they were entitled to,
and avoided their obligation to return the excess money to the United States. |

68. The conduct of Defendants violated 31 U.S.C. § 3729(a)(1}(G) and was a substantial
factor in causing the United States to sustain damages in an amount according to proof.

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FIRST AMENDED COMPLAINT 12

 
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FOURTH CAUSE OF ACTION
Violations of the Federal False Claims Act
Conspiracy to Commit Violations of the False Claims Act
(31 U.S.C. § 3729(a)(1)(C))
On Behalf of the United States
Against All Defendants

69. _ Relator incorporates herein by reference and realleges the allegations stated in this
Complaint.

70. Defendants conspired with each other and various other SNFs to commit the violations
alleged in this complaint, including causes of action one, two, and three inclusive.

71. Defendants performed acts, including agreeing to discounted prices to effect the object
of the conspiracy.

72. The conduct of Defendants violated 31 U.S.C. § 3729(a)(1)(C) and was a substantial

factor in causing the United States to sustain damages in an amount according to proof.

FIFTH CAUSE OF ACTION

Violations of the California False Claims Act
Presenting False Claims
(Cal. Gov. Code § 12651, subd. (a)(1))
On Behalf of the State of California
Against All Defendants
_ 73. Relator incorporates herein by reference and realleges the allegations stated in this
Complaint.
74. Defendants knowingly presented or caused to be presented false or fraudulent claims
for payment or approval to an officer or employee of the State of California.
75. Defendants’ false or fraudulent claims had the natural tendency to influence agency
action or were capable of influencing agency action.
76. The State of California sustained damages because of Defendants’ acts, in amounts to

be proved at trial.

 

FIRST AMENDED COMPLAINT 13

 
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SIXTH CAUSE OF ACTION
Violations of the California False Claims Act
Making or Using False Records or Statements to Obtain Payment or Approval of False Claims
(Cal. Gov. Code § 12651, subd. (a)(2))
On Behalf of the State of California
Against All Defendants

77, Relator incorporates herein by reference and realleges the allegations stated in this
Complaint.

78. Defendants knowingly made, used, or caused to be made or used false records or
statements to get false or fraudulent claims approved by the State of California, in violation of the
California False Claims Act.

79. Defendants knowingly made, used, or caused to be made or used false records or
statements material to false or fraudulent claims involving State funds, in violation of the California
False Claims Act. |

80. Defendants’ false records or statements had the natural tendency to influence, or
capable of influencing, the payment or receipt of money, property, or services.

81.‘ The State of California sustained damages because of Defendants’ acts, in amounts to

be proven at trial.
SEVENTH CAUSE OF ACTION

(In the Alternative)
Violations of the California False Claims Act
Inadvertent Submission of False Claims
(Cal. Gov. Code § 12651, subd. (a)(8))
On Behalf of the State of California
- Against All Defendants
| 82. Relator incorporates herein by reference and realleges the allegations stated in this

Complaint.

 

FIRST AMENDED COMPLAINT 14

 
 

 

83. In the alternative, Defendants were the beneficiaries of inadvertent submissions of
false claims, subsequently discovered the falsity of the claims, and failed to disclose the false claims _
to the State of California within a reasonable time after discovery of the false claims.

84. To the extent any of Defendants’ complained of acts were inadvertent at the time
committed, Defendants subsequently discovered they had engaged in discriminatory billing practices
and failed to disclose the facts to the State of California within a reasonable time of such discovery.

85. Defendants’ false or fraudulent claims had the natural tendency to influence agency |
action or were capable of influencing agency action.

86. The State of California sustained damages because of Defendants’ acts, in amounts to

be proved at trial.
EIGHTH CAUSE OF ACTION

Violations of the California False Claims Act
Conspiracy
- (Cal. Gov. Code § 12651, subd. (a)(3))
On Behalf of the State of California |
Against All Defendants

87. Relator incorporates herein by reference and realleges the allegations stated in this
Complaint. |

88. | Defendants conspired with each other and various other SNFs to commit the violations
alleged in this complaint, including causes of action five, six, and seven, inclusive.

89. Defendants performed acts, including agreeing to discounted prices for SOC patients
to effect the object of the conspiracy. .

90. The conduct of Defendants violated California Government Code section 12651,
subdivision (a)(3) and was a substantial factor in causing the State of California to sustain damages in
an amount according to proof.

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|| FIRST AMENDED COMPLAINT , , 15

 
 

 

VI. PRAYER FOR RELIEF
- WHEREFORE, Plaintiff the United States of America, by and through Relator, prays for

relief against all Defendants as follows:
1. Pursuant to 31 U.S.C. § 3729(a)(1), three times the amount of damages the United

States has sustained because of Defendants’ acts in violation of the Federal False
Claims Act, in an amount to be determined at trial.

2. Pursuant to 31 U.S.C. § 3729(a)(1), the maximum allowed civil penalty for each
violation of the Federal False Claims Act, in an amount to be determined at trial.

3. Pursuant to 31 U.S.C. § 3729(a)(3), and all other applicable provisions of law, the
costs of this action;

4, Prejudgment and postjudgment interest

5. Such further additional relief as the Court deems proper.

Plaintiff the State of California, by and through the Relator, prays for relief against all

Defendants as follows:
1. Pursuant to California Government Code § 12651 (a), three times the amount of

damages the State of California has sustained because of Defendants’ acts in violation
of the California False Claims Act, in an amount to be determined at trial.

2. Pursuant to California Government Code § 12651(a), the maximum allowed civil
penalty for each violation of the False Claims Act, in an amount to be determined at
trial. .

3. Pursuant to California Government Code § 12651 (a), and all other applicable
provisions of law, the costs of this action; .

4. Prejudgment and postjudgment interest

5. Such further additional relief as the Court deems proper.

Further, Relator, on his own behalf, requests that he receive the maximum amount as
permitted by law of the proceeds of this action or settlement of this action collected by the United

States and/or the State of California, plus an amount for reasonable expenses incurred, plus

| reasonable attorneys’ fees and costs of this action. Relator requests that his percentage be based upon

 

FIRST AMENDED COMPLAINT 16

 
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the total value recovered, including any amounts received from individuals or entities not parties to

this action.

 

Dated: March 29 , 2018 COTCHETT, PITRE & McCARTHY LLP
By: __/ (4 hog
JUSTIN T. BERGEV
ADAM M. SHAPIRO
Attorneys for Relators

Vil. JURY DEMAND

 

_ Plaintiff demands a jury trial on all issues so triable.
Dated: March 20, 2018 “ly PITRE & McCARTHY LLP
Le
pees T. SEkGE
ADAM M. SHAPIR
Attorneys for Relators

 

FIRST. AMENDED COMPLAINT

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